Case 9:20-cv-80147-RLR Document 7-1 Entered on FLSD Docket 02/03/2020 Page 1 of 16




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Case 9:20-cv-80147-RLR Document 7-1 Entered on FLSD Docket 02/03/2020 Page 5 of 16




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                         heatth.My motherhas beena homemaker.
                        My background isinfinanceand economics.Iam currentlyworking inthe private
                        sector,althoughIwould also Iike to be involved in publicpolicyinthefuture. Iam
                        working on some academicresearchatthe momentwitha view to doctoral
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